  Case 1:22-mc-03696-HG-PK Document 13-9 Filed 09/28/22 Page 1 of 3 PageID #: 286
                                                Tuesday, September 27, 2022 at 13:36:40 Central Daylight Time


Subject:    RE: Rosenfeld v. AC2T, Inc. - Correspondence re: Supplemental Produc>on
Date:       Wednesday, March 30, 2022 at 1:32:32 PM Central Daylight Time
From:       Dimon, Anna G.
To:         Cal Mayo
CC:         Boyle, Edward P.
AFachments: image001.png

Hi Cal,

Please send a draM of your proposed conﬁden>ality agreement for our review. Regarding payment, we will
agree to pay $100/hour for >me spent in the deposi>on. For the avoidance of doubt, and to reiterate, this is
not a payment for Yee’s services nor for his tes>mony.

Best,
Anna

From: Cal Mayo <cmayo@mayomalleWe.com>
Sent: Wednesday, March 23, 2022 1:34 PM
To: Dimon, Anna G. <AGDimon@Venable.com>
Cc: Boyle, Edward P. <EPBoyle@Venable.com>
Subject: Re: Rosenfeld v. AC2T, Inc. - Correspondence re: Supplemental Produc>on

CauGon: External Email



As indicated in my email of Feb. 17, I need a conﬁden>ality agreement. Dr. Yee will not consent to the
NY protec>ve order.

Once we come to terms on the agreement, I will produce the responsive documents.

                             J. Cal Mayo, Jr.
                             Mayo Mallette
                             Oxford & Jackson Offices

                             E: cmayo@mayomallette.com
                             O: 662.236.0055 J: 601.366.1106
                             D: 662.513.4897 C: 662.801.3837
                             2094 Old Taylor Road, Suite 200 | Oxford, MS 38655
                             4400 Old Canton Road, Suite 150 | Jackson, MS 39211
                             mayomallette.com




From: "Dimon, Anna G." <AGDimon@Venable.com>
Date: Wednesday, March 23, 2022 at 10:22 AM
To: Cal Mayo <cmayo@mayomalleWe.com>
Cc: "Boyle, Edward P." <EPBoyle@Venable.com>
Subject: RE: Rosenfeld v. AC2T, Inc. - Correspondence re: Supplemental Produc>on

Hi Cal,

                                                   "I"                                                   Page 1 of 3
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Please let us know when we can expect a response to the below.

Best,
Anna

From: Dimon, Anna G.
Sent: Tuesday, March 8, 2022 12:57 PM
To: 'Cal Mayo' <cmayo@mayomalleWe.com>
Cc: Boyle, Edward P. <EPBoyle@Venable.com>
Subject: Rosenfeld v. AC2T, Inc. - Correspondence re: Supplemental Produc>on

Hi Cal,

I am responding to your February 17 email. You wrote that Dr. Yee will “make an addi>onal produc>on of
certain responsive documents” provided that (1) AC2T agrees to compensate Yee at a rate of $100/hour for
>me spent in his deposi>on in this case, and (2) AC2T and Yee execute a supplementary conﬁden>ality order
covering Yee’s documents and tes>mony. Speciﬁcally, if agreement is reached on these points, you wrote
that Yee will produce “to the extent they exist, documents responsive to 1-6, 9-10, and 17-18,” and that you
would check with Yee regarding documents responsive to Requests No. 13 and 16. You also stated that Yee
would not respond to Request No. 19 because it is too broad. And, you noted that Yee has documents
responsive to Requests No. 14 and 15, which are being withheld based on aWorney work product asser>ons
by counsel for Plain>ﬀ in this ac>on. As you know, my ﬁrm has wriWen to Plain>ﬀ’s counsel separately on this
subject, and we hope to have this issue resolved soon.

In response to the ﬁrst point above, AC2T agrees to pay Yee $100/hour for his >me in the deposi>on that he
is ques>oned by AC2T’s counsel, provided you conﬁrm that this is Yee’s reasonable and customary rate for
>me spent away from work. We also take as true your representa>on in our February 14 call that Yee is an
independent witness and is not retained by any party in this ac>on. For the avoidance of doubt, this is not a
payment for Yee’s services nor for his tes>mony. AC2T will not compensate Yee for other >me rela>ng to the
subpoena, including >me spent ques>oned by Plain>ﬀ’s counsel, or >me that we are not on the deposi>on
record.

Regarding conﬁden>ality, AC2T will agree that Yee may designate his documents and tes>mony as
“conﬁden>al” under the terms of the discovery conﬁden>ality order issued in the ac>on. I have aWached a
copy for your convenience. Please conﬁrm Yee agrees to these terms.

Regarding Request No. 19, AC2T agrees to address your concerns about breadth by limi>ng the request to
communica>ons concerning the Paper, the Product, AC2T, Hirsch, Bonner, this Ac>on, any other ac>on
challenging the eﬃcacy of the Product, and Yee’s travels to Puerto Rico and the nature of the work he
performed in connec>on with those visits. Please conﬁrm that this resolves your concerns, and that Yee will
produce responsive documents. And, please let me know if Yee has agreed to produce his documents
responsive to Requests No. 13 and 16.

I’d also like to clear up the issue regarding Request No. 12 and Janet Donaldson’s role, as I may have
misspoken during our call. I understand that Donaldson was the head of Yee’s department at the University
of Southern Mississippi during the relevant >me period. In that role, I understand she communicated with
Yee regarding concerns that AC2T brought to the University’s aWen>on about public comments he made.
There is evidence in the documents that you already produced that Donaldson and Yee did have such
communica>ons – see, for example Dr. Donaldson’s November 18, 2019 email in the VEN_YEE0000000003
aWachment. Yee should produce his complete set of these communica>ons with Donaldson.

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aWachment. Yee should produce his complete set of these communica>ons with Donaldson.

I look forward to your response, and to receiving Yee’s remaining produc>on. AC2T reserves all rights.

Best,
Anna

Anna G. Dimon | Associate | Venable LLP
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1290 Avenue of the Americas, 20th Floor, New York, NY 10104

AGDimon@Venable.com | www.Venable.com

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